Case 2:10-cv-08888-CJB-JCW Document 85354 Filed 04/20/11 Page 1of3

ye
se ehassQutt'md-02179-C18-8s Document.983-3 Filed 01/12/11 Page 1 of 3

‘ genc'® ot IN RE: OIL SPILL by “D ter Horizon”
yao : ae : y “Deapwater Horizon

os qo “st DIRECT FILING SHORT FORM'

oR wah .
Ag _ Aithorizd by Order of the Court, Civil Action No, 10 md 2179 Rec. Doc. 882
aid Order having also been filed in Civil Actions No. 10-8688 and 10-2771)

MDL 21 SECTION: J JUDGE CARL BARBIER
=o or oe Sy ee ae 7 7 a j
7G INS "rad 0 a
ag Siew T aA Eat rr ane ne
gah Ree eaae (Oponl Array ane toe er EL Lae :

By submitting this document, | am asserting a clalm in Complaint and Petition of Triton Asset Leasing GmbH, ot
al., No. 10-2771; adopt and Incorporate the Master Answer (Rac. Doc. 244] to the Compizint and Potition of Triten
Asset Leasing Gmbh, at al., in No. 10-2774; andior intervene into, join and otherwise adopt the Mastar Complaint
(Rec. Doc, 879} for private economic losses ("B1 Bundle") filed In MOL No. 2179 (10 md 2179); and/or Intervene

Into, join and otherwise adopt the Master Complaint {Rec, Doc. 881] for eee injuries ("83 Bundle")

filed in MDL No. 2179 (10 md 2178).

Thos VAs

Pie SEZ-BORS _— oy!

Addrass . SS
‘Ervine Se VE emploed __[Bairestwome Se] E - Emm Diauesy _
10h Tie /Denentaes : 3 ach? RT Sic l Rerke |

MD 1 BOx'SB ..__......,| 47.0. Boxe SB...
Paed “s\e P1038 owt and sle, LA 103%
ee
; See vas exDaniels |" The Mediadocs Phe.
2 Tad Roach |e" pier ¢, Florida 33

Claim filed with BP? ves O no O Cisim Filed win Gccr?: YES (] NO CJ

tt yes, BP Claim Na.: iF you, Claimant identification No.:

Type (Pieasa check all that apply]:

fi
Damage or destruction to real or personal proparty Faar of Future Injury anaor Medical Monitoring
Eaminga/Profl Loar Loes of Subsistence use of Natural Resources
Perconal Infury/Daath Removal angor clean-up Coste
Fe

‘ thig form should be Aled with the U.S. District Court for the Eastern District of Louisiana In New Orleans, Loulstana in Chil Action No, 10-8888. Whilg this Direct
filing Shart Form le to be Ted In CA No, 10-8898, by prior ordar of tha Court, (Rec. Dee, 245, CA. No, 10-2771 and Rec. Doc, 962 In MDL 2279), the filing of this form
in CA. No. 10-B888 shall he deemed to be simultaneously filed iA CA, 10-2774 and MOL 2179, Plaintiff Lislson Counsel, after being notified electronically by the Gerk
of Court of the filing af this Short Form, shail promptly carve this form through the ine Nexis cervice system on Defense Lialsan.

The filing of thie Direct Fiting Short Form shail algo aarve In iteu of tha requirement of a Plainth to fie & Plainth? Profile Pornt.

Case 2:10-Cv-08888-CJB-JCW Document 85354 Filed 04/20/11 Page 2 of 3

. Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 2 of3

‘Brief Description:
4. Far eamings/profit loss, property damage and loos of subsistence use claims, describe the nature of the injury. For cisime

involving eal estate/propenty, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounde at isaue.

Whe “eX. onal. to 0 te seafood aC
e é. £ Use of 2 cllubon fou
Ane Oi\_and Comexit, Ye Arspersany, winich ik
Amie, POS OnOOS 4a humans and wildlife, PA mMaviae
Vibe ‘and a\\ wildlife on che aslands hate. een exposes.

te

cannot awe, WA ss Lose ac work. cory \pusiness
becaKe of he pceuran\ eon. of oi\ And oe ieenays fecexit-

2. For personal injury claims, describe the injury, haw and when K was sustained, and identify all health care providers a
emplayers 2008 to prozent and complete authortzetion forms for €8Ch. nn taste tama ™*

*

£ ¢ \ z\\ over

may edu must Use ary inlsler, nelw lizer $2 oxyaer “pak
te hep \e: C less Le che

PNG ric Caine "OS VAST i &" coord ‘non. {stumbling i

Ad eptarG ARPA) aA We snd vhrDct \olury Visiek, Gor k.
ha Li s onder < 4° ice , Anti ou Pee 10“ [seme
3. For post-explosion claims relatad ta reup for rameval, include your role in the ch hnip cilvities, the name of your

> we Oo wre ou \nou ec <

rmHco \nes [rTwct. Dicer i ¢.. MAT nc “a 2 ima aed \d if

mis-

cornanes

he. o\\ Pits 4 wore’ ne ve
b Jr Snoes and an ing And ni Awa i$ pes .

The filing of this Direct Filing Si Form afeo serve in tied of the ant of a Ptaintht? to fite
Case 2:10-c¥-08888-CJB-JCW Document 85354 Filed 04/20/11 Page 3 of 3

: Case 2:10-md-02179-CJB-SS Document 983-3 Filled 01/12/11 Page 3of3

Pieage check the box(es) below that you think apply to you an
a J pk 1S I o P 6 1g 5

porty Vamad

d@ your claims:
ime [Bunce &

et

Commercial fishermen, shimper, crabber, or oysterman, or tha owner and operator of a business lnvoiving fishing, shrimping,
crabbing or oystering,

Sesfood processor, distributor, retall and seafood martul, or reetaurant owner and operater, or an employee Iharecf.

Recreational buginacs owner, operator or worker, ingluding & recreational fishing business, commercial guide service, or charter
fishing businass wha eam thelr living through the use of the Gulf of Mexico.

xf

2

3

Ke Commercial business, bualness cwner, operator or worker, Inciuding commearciz! divers, offsnore oliiakt sericn, repair and
supply, real estata sgents, and supply companias, or an employee thareor.

XG Recreational apart fishermen, recreational diver, baachgaer, or recreations! boater.
a Plant and dock worker, including commercial seafaod plant Workar, longshoremen, or ferry cporator.
7

Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
laeaaee of cyater bada,

Dae Hetul owner and operator, vacation rental owner and agent, of e# thase who earn their tiving from the touriem indusiry.
xe Bank, financial inetitution, or retail business that suffered icasse ae & result of the epil,

WN \ Resaurces foc
SURES reste

Boat captain or crow involved in the Vesgala of Opportunity program.
Worker involved in decontaminating vessela that came into contact with ofl and/or chemical dispersants.

4

2

CS Vessn! captain of crew who was not lnvotvad In the Vaseals of Opportunity program but wha ware expoced to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

Wo Clasr-up workar or beach parsonne! invdlved in dear-up activilles along shorelinas and Intercoastal and Intertidal zones.

We. Resident wie lives or works in close proximity to coaste! waters.
wets i

15 Rood foe

The fiting of this Direct Filing Short Form shail seo sorve in Hou of the requirement of # Plaintiff to file a Plaintiff Profile Form.

